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       EXPERT REPORT OF HAL PORET IN MATTER OF
  ORGAIN, INC. V. NORTHERN INNOVATIONS HOLDING CORP.
                DBA PURELY INSPIRED ET AL.




                                                                 PREPARED BY:
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                                                                    April 2020
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BACKGROUND AND PURPOSE

Plaintiff Orgain, Inc. (Orgain) puts out plant-based nutritional protein powder and
ready-to-drink (RTD) protein shake products using the following trade dress:




Orgain alleges it has rights in the trade dress of the overall appearance and design of its
products, including but not limited to the following elements: 1




1
 I understand that during the pendency of the lawsuit, the design of the Orgain plant-based
RTD protein shake product was changed to use a blue cap and blue band at the bottom instead
of green. The survey tested the Orgain RTD product shown above, which was on the market
prior to and during the initial phase of the lawsuit.

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      •   ORGANIC PROTEIN displayed in a particular, black font against a white
          background. 2
      •   Placement of ORGANIC PROTEIN just above the center of the container with
          its house brand (Orgain) located above ORGANIC PROTEIN.
      •   ORGANIC PROTEIN is framed inside green bands that circumscribe the top
          and bottom portions of the container.
      •   The front label incorporates a green leaf and colored circles highlighting the
          dietary profile of the product


Defendants (Purely Inspired) put out competitive plant-based protein powder and RTD
protein shakes using the following trade dress:




2
 Orgain separately claims trademark rights to the word mark ORGANIC PROTEIN in
connection with its products.

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Orgain alleges that the trade dress of the Purely Inspired products (including the use of
the words “Organic Protein” in a bold and prominent fashion at the center of the
product) creates a likelihood of confusion with respect to Orgain. Counsel for Orgain
retained me to design and conduct surveys to test: (1) the extent to which, if at all, the
Purely Inspired protein powder product creates a likelihood of confusion with respect
to the Orgain protein powder trade dress; and (2) the extent to which, if at all, the
Purely Inspired RTD protein shake product creates a likelihood of confusion with
respect to the Orgain RTD protein shake trade dress. This Report describes the
methodology, execution and results of my surveys. As discussed below in more detail,
the surveys showed that there is a substantial likelihood of confusion – net confusion
rates of 17.0% for the protein powder product and 26.5% for the RTD protein shake
product (after deducting Control Group results to account for survey noise).


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In connection with designing my survey and preparing this Report I reviewed the
following materials:


       •   Complaint (7-18-18)
       •   Orgain.com website
       •   Purelyinspired.com website


I also conducted numerous online searches for the specific products at issue as well as
other organic, plant-based protein powder and RTD protein shake products and
reviewed the results on various websites, including Amazon, GNC, Vitamin Shoppe,
Target, Walmart, and CVS. I also visited several stores and reviewed the relevant
products and competitive products as displayed in those stores.


The fee for the surveys and this expert report is $60,000. This includes fees paid to
outside vendors that assisted with the survey sampling, programming, hosting, and
data collection. My ongoing work in connection with this matter is being billed at my
hourly rate of $725. Payment is not contingent on the outcome of the litigation.




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AUTHORSHIP AND QUALIFICATIONS


The surveys discussed herein were designed, supervised, and implemented by Hal L.
Poret, President at Hal Poret, LLC.


I have personally designed, supervised, and implemented over 1,000 surveys regarding
the perceptions and opinions of consumers. Over 500 have involved consumer
perception with respect to trademarks, and over 500 have been conducted online. I
have personally designed numerous studies that have been admitted as evidence in
legal proceedings and I have been accepted as an expert in survey research on
numerous occasions by U.S. District Courts, the Trademark Trial and Appeal Board,
and the National Advertising Division of the Council of Better Business Bureaus (NAD).


I am a member of the American Association of Public Opinion Research, publisher of
Public Opinion Quarterly and the Journal of Survey Statistics and Methodology; the
International Trademark Association; and the National Advertising Division of the
Council of Better Business Bureaus (NAD). I routinely conduct market research surveys
for a variety of small to large corporations and organizations.


I have frequently spoken at major intellectual property and legal conferences on the
topic of how to design and conduct surveys that meet legal evidentiary standards for
reliability, including conferences held by the International Trademark Association
(INTA), American Intellectual Property Law Association, Practicing Law Institute,
Managing Intellectual Property, Promotions Marketing Association, American
Conference Institute, and various bar organizations.


In addition to my survey research experience, I hold bachelors and masters degrees in
mathematics and a J.D. from Harvard Law School. Additional biographical material,
including lists of testimony and publications, is provided in Appendix A.

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STUDY DESIGN

A total of 800 respondents participated in these online surveys among consumers of
plant-based protein powder and/or RTD protein shake products, 3 400 in a survey
pertaining to the Orgain and Purely Inspired protein powder products (the Protein
Powder Survey) and 400 in a survey pertaining to the Orgain and Purely Inspired RTD
protein shake products (the Protein Shake Survey).


Each survey utilized a classic experimental design consisting of a Test Group and a
Control (placebo) Group. For each survey, the Test Group viewed the allegedly
infringing Purely Inspired product and the Control Group instead viewed an altered
version of the same product that changed the allegedly confusing trade dress while
holding all other elements constant. Accordingly, comparing the results of the Test and
Control Groups scientifically measures the extent to which, if at all, the allegedly similar
trade dress at issue is likely to cause confusion.


The survey utilized the Sequential Lineup format, which replicates a common
marketplace scenario in which consumers are exposed to one company’s products and
then another company’s products. 4 The Sequential Lineup survey is well-accepted as a
standard method for assessing likelihood of confusion in situations where the parties’
products or services are directly competitive or sufficiently overlapping such that
consumers would be reasonably likely to encounter both in close proximity in the
marketplace. 5




3 See the Relevant Universe and Sampling sections of this report for more information regarding
who qualified for and completed the survey.
4 1 McCarthy, J. Thomas. McCarthy on Trademarks and Unfair Competition, Fourth Edition,

Volume 5, 32:177, page 32-291. 2001.
5 Jerre Swann, Eveready and Squirt – Cognitively Updated, 106 TMR 727 (2016).


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A Sequential Lineup format was appropriate in the present circumstances because both
parties offer the same type of products (plant-based nutritional protein powder or RTD
protein shakes) that are frequently sold to the same consumers through the same or
similar online and retail store channels. Accordingly, the Sequential Lineup survey’s
presentation of both parties’ products in close proximity in the survey appropriately
replicates a realistic and representative marketplace scenario in which a consumer who
purchases the relevant type of product is exposed to both parties’ products in relative
proximity in the marketplace.


In the Protein Powder Survey Test Group, respondents were introduced to Orgain’s
protein powder product/trade dress and then subsequently shown a lineup of three
other protein powder products, one at a time. One of the three subsequent products
shown in the line-up was the allegedly infringing Purely Inspired protein powder
product. The other two products were third party organic plant-based protein powder
products. Each time one of the three products was shown, respondents were asked a
series of questions assessing whether or not they believe the product is made by the
same company as the product they were first shown (i.e. Orgain) or affiliated with, or
sponsored or approved by, the company that makes the first product they were shown.


In the Protein Shake Survey Test Group, respondents were introduced to Orgain’s
protein shake product/trade dress and then subsequently shown a lineup of three other
protein shake products, one at a time. One of the three subsequent products shown in
the line-up was the allegedly infringing Purely Inspired protein shake product. The
other two products were third party organic plant-based protein shake products. Each
time one of the three products was shown, respondents were asked a series of questions
assessing whether or not they believe the product is made by the same company as the
product they were first shown (i.e. Orgain) or affiliated with, or sponsored or approved
by, the company that makes the first product they were shown.



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 As this survey was conducted online, all the instructions and questions were displayed
 on respondents’ computer screens and each question appeared on its own screen.


                            Protein Powder Survey -- Test Group


 A total of 200 respondents participated in the Protein Powder Test Group. After a series
 of initial screening questions, all respondents were prompted as follows:


        For this survey please imagine you are shopping for a protein powder product.

        The remaining part of the survey has two sections. For the first section, you will
        be shown a protein powder product. Please review the product as you would if
        you were considering purchasing it.


 Next, respondents were shown the following instruction and image of the Plaintiff’s
 protein powder product:


        Please review the following product. You may click on the image if you would
        like to view an enlarged version. 6




 6
  If desired, respondents could click on the product image (as well as any other product images
 they saw in the survey) to view an even larger image of the product.

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 After fifteen seconds elapsed, the following instruction appeared on screen beneath the
 product image:


           Before continuing with the survey, please indicate whether or not you were
           able to view the product clearly.

           •   I viewed the product clearly


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           •   I was unable to view the product clearly


 Respondents viewed the product for a minimum of fifteen seconds and confirmed they
 viewed the product clearly before continuing with the survey. This is a standard quality
 assurance measure to ensure respondents successfully view the product for an amount
 of time that allows them to meaningfully participate in the survey.


 Respondents were then instructed:


        This concludes the first section of the survey.

        If later you are asked about the product you were shown in the first section of the
        survey, we are referring to the product you were just shown on the last screen.



 For the next section of the survey, respondents were questioned (one at a time) about
 the allegedly infringing Purely Inspired product and two third-party products.
 Including third-party products in the sequential lineup is standard practice in product
 categories that have various competing brands besides the parties’ products. Showing
 the products at issue in the context of an array of other third-party products better
 replicates realistic marketplace conditions and helps to mask the purpose of the survey
 by preventing respondents from realizing that a potential connection between Plaintiff’s
 and Defendant’s products is the key issue in the survey. The third-party products used
 here (Garden of Life and Kos) were selected because they are both competitive organic
 plant-based protein powders that come in a comparable flavor in a comparable type of
 container. Accordingly, since all three of the products shown in the sequential lineup
 (Purely Inspired, Garden of Life and Kos) have these characteristics, respondents would
 have no reason to believe that the Purely Inspired product in particular is connected to
 Orgain unless due to the Purely Inspired trade dress at issue.




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 The order in which the three protein powder products (Purely Inspired, Garden of Life
 and Kos) were presented in the second section of the survey was randomized. Each
 time respondents saw a product they were asked a series of questions. The series of
 questions asked for each product was identical.


 All respondents were prompted as follows:


       For the second and final section of the survey, you will be shown several
       products, one at a time. For each one, please look at the product as you would if
       you were considering purchasing it. You may click on any product you are
       shown if you would like to view an enlarged version.

       You will be asked some questions about each product. For any question, if you
       do not have an opinion, please indicate so. Please do not guess.


 Next, respondents were shown and asked about one of the three products in the
 sequential lineup. While the products were presented in randomized order, for the
 purpose of this report, I am presenting Defendant’s product first:


       Please review the following product and then answer the question below.




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        Do you think that this product is made by… 7

        •   The same company as the product you were shown in the first section of the
            survey
        •   A different company than the product you were shown in the first section of


 7
   The order in which the first two response options appeared, randomized, to account for
 response bias due to response option order. The order of the response options in all subsequent
 questions was kept consistent with the order first shown.

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           the survey
       •   No opinion/don’t know
       •   I am unable to view the product clearly 8


 Respondents who answered that they think the product is made by the same company
 as Plaintiff’s product were then shown Defendant’s product again on a new screen and
 instructed:


       Please explain in as much detail as possible what makes you think that this
       product is made by the same company as the product you were shown in the
       first section of the survey.


 Respondents could type in any answer.


 Meanwhile, respondents who previously answered either that they think the product is
 made by a different company than Plaintiff’s, or that they have no opinion/don’t know,
 were instead shown Defendant’s product again and asked:


           Do you think this product…

       •   is affiliated with, or sponsored or approved by, the company that makes the
           product you were shown in the first section of the survey
       •   is not affiliated with, or sponsored or approved by, the company that makes
           the product you were shown in the first section of the survey
       •   No opinion/don’t know
       •   I am unable to view the product clearly


 Respondents who answered that they think the product is affiliated with, or sponsored
 or approved by, Plaintiff, were then shown Defendant’s product again and instructed:




 8
  The survey was programmed in such a way that respondents who might have indicated at any
 point that they were unable to view a product clearly did not continue, nor did they count
 toward the final sample size of 800.

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          Please explain in as much detail as possible what makes you think this product is
          affiliated with, or sponsored or approved by, the company that makes the
          product you were shown in the first section of the survey.


 Respondents could type in any answer.


 This concluded the series of questions for the first of the three products respondents
 were shown in the sequential line up section of the survey. Respondents were then
 asked an identical series of questions two more times, once for each remaining product.


 The following is an image of the Garden of Life product that respondents were asked
 about:




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 The following is an image of the Kos product respondents were asked about:




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 The survey concluded for the Test Group once respondents had been asked about all
 three products in the sequential lineup.




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                                Protein Powder -- Control Group


 The survey included a Protein Powder Control Group comprised of a separate 200
 unique respondents. The Control Group function is to measure the survey “noise” level
 or “false positive” level – i.e., the tendency of survey respondents to connect the Purely
 Inspired product to the Orgain product for reasons that cannot be attributed to the
 similarity of trade dress, such as similarity of product type (plant-based protein
 powder), similarity of other information, guessing, or other forms of respondent or
 survey error. 9 The Control Group alters the allegedly infringing trade dress in order to
 measure the extent to which respondents will nevertheless connect the parties’ products
 even when shown a control product that does not include the allegedly confusing trade
 dress. This allows me to appropriately discount the Test Group rate by deducting this
 “noise” or “false positive” rate and arriving at a “net” confusion level that can be
 reliably attributed to the trade dress at issue.


 The Control consisted of altering the Purely Inspired trade dress as follows:




 9 A Control Group in a survey is akin to a placebo group in a classic scientific experiment.
 When a Test Group is given a medication and questioned about its impact, a Control or Placebo
 Group is given a placebo and asked the same questions to assess the extent to which the same
 result ensues. A placebo is a pill that removes the active ingredient at issue but changes nothing
 else. If, for example, 30% of the Test Group responds that the medication helped their
 headache, the Control Group must be consulted to determine the extent to which, if at all, this
 result can be reliably attributed to the effectiveness of the active ingredient. If 25% to 30% of the
 Control Group reports that the medication (placebo) helped their headache, we know that the
 30% Test Group result cannot be attributed to the effectiveness of the test medication, as those
 given the placebo had a very similar result. If, on the other hand, only 10% of the Control
 Group reports a benefit, we know that the 20% difference between the Test result (30%) and the
 Control result (10%) must reflect the genuine impact of the Test medication. The same
 experimental design (comparing Test and Control Groups) is commonly used in surveys to
 isolate the impact of the “active ingredient” (in this case, the allegedly similar trade dress at
 issue) and weed out the impact of any other factors.

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                        TEST                                      CONTROL




 This was an ideal control because it changes a minimum amount of the infringing trade
 dress elements and holds all other elements constant. Specifically, the control alters
 only the following elements, which all relate to the claimed trade dress:


       •   The use of green bands to frame the top and bottom portions of the container
       •   The prominent display of the term Organic Protein in a distinctive black font
           at the center of the container in a manner that could appear to be the brand
           name of the product.


 The control holds constant all of the following elements:

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        •   The container design and shape
        •   The multi-colored band at the top calling out nutritional information.
        •   The gold band promoting “America’s #1 Selling Organic Protein”.
        •   The Purely Inspired name/logo.
        •   Use of the words “organic” and “protein” in close proximity to describe
            certain ingredients of the product at the center of the container.
        •   The language Plant-Based Nutrition in a green color.
        •   The imagery of chocolate and leaves.
        •   The “amazing taste” ribbon and flavor description.
        •   The “No Artificial…” and Non-GMO portion of the label.
        •   The Net weight information.
        •   The white background.


 Accordingly, the control effectively measures the tendency to connect the Purely
 Inspired product to the Orgain product due to any of these factors (including it being
 the same type of product). In particular, the control measures the tendency to connect
 the Purely Inspired product to the Orgain product due to factors such as use of the
 words “Organic” or “Protein” or “Plant-Based” or the use of green fonts/imagery or the
 use of a white background. Since all of these individual elements are present on the
 control, the difference between the Test and Control results isolates the impact of the
 allegedly similar trade dress. By subtracting the noise level measured in the Control
 Group, the resulting level is a “net” confusion level that must be attributed to the
 similarity of the Purely Inspired trade dress to the Orgain trade dress, and cannot be
 dismissed as attributable to any other factors or forms of error.




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                               Protein Shake -- Test Group


 A separate 200 unique respondents participated in a Protein Shake Test Group.
 Respondents in the Protein Shake Test Group were initially prompted:


       For this survey please imagine you are shopping for a ready-to-drink protein
       shake product.

       The remaining part of the survey has two sections. For the first section, you will
       be shown a ready-to-drink protein shake product. Please review the product as
       you would if you were considering purchasing it.


 These respondents then took a survey identical to the Protein Powder Test Group
 respondents with the sole exception that they were shown a different set of images.


 Protein Shake Test Group respondents were first prompted and shown the following
 Orgain protein shake product:




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 Respondents subsequently saw three additional products in a sequential lineup. One of
 the three subsequent products was the allegedly infringing Purely Inspired protein
 shake product:




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 The following two third-party products were also included in the sequential lineup for
 the Protein Shake Group:




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 The third-party products used here (Owyn and Aloha) were selected because they are
 both competitive organic plant-based protein drinks that come in a comparable flavor in
 a comparable type of container. Accordingly, since all three of the products shown in
 the sequential lineup had these characteristics, respondents would have no reason to


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 believe that the Purely Inspired product in particular is connected to Orgain unless due
 to the particular Purely Inspired trade dress.


 The order in which these products were presented was randomized. Each product was
 presented to respondents in a manner identical to that in the Protein Powder Survey
 and an identical series of questions was asked for each product as was asked of
 respondents in the Protein Powder Survey.


                              Protein Shake -- Control Group


 The survey also included a Protein Shake Control Group comprised of a separate 200
 unique respondents. This Control Group altered the allegedly infringing Purely
 Inspired protein shake product in order to measure the extent to which respondents
 will nevertheless connect the Purely Inspired product to the Orgain product even when
 shown a control product that does not include the allegedly infringing trade dress.


 The control altered the trade dress of the Purely Inspired product in the same manner as
 depicted for the Protein Powder products:




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                    TEST                                       CONTROL




 This was an ideal control because it changes a minimum of the allegedly infringing
 trade dress elements and holds all other elements constant. Specifically, the control
 alters only the following elements, which all relate to the claimed trade dress:


        •   The use of green bands to frame the top and bottom portions of the container




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        •   The prominent display of the term Organic Protein in a distinctive black font
            at the center of the container in a manner that could appear to be the brand
            name of the product.


 The control holds constant all of the following elements:


        •   The container design and shape.
        •   The “Ready to Drink” ribbon at the top.
        •   The multi-colored band at the top calling out nutritional information.
        •   The gold band promoting “America’s #1 Selling Organic Protein”.
        •   The Purely Inspired name/logo.
        •   Use of the words “organic” and “protein” in close proximity to describe
            certain ingredients in the product at the center of the container.
        •   The language Plant-Based Nutrition in a green color.
        •   The imagery of chocolate and leaves.
        •   The “amazing taste” ribbon and flavor description.
        •   The “20g…” and Non-GMO portion of the label.
        •   The Net content information.
        •   The white background.


 Since all of these individual elements are present on the control, the difference between
 the Test and Control results isolates the impact of the allegedly similar trade dress. By
 subtracting the noise level measured in the Control Group, the resulting level is a “net”
 confusion level that must be attributed to the similarity of the Purely Inspired trade
 dress to the Orgain trade dress, and cannot be dismissed as attributable to any other
 factors or forms of error.


 This concluded the surveys for all respondents.


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 Screenshots of the survey will be provided in Appendix C.




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 SUMMARY OF KEY FINDINGS


 This section details certain key survey findings. Other survey results are discussed
 further in the Detailed Findings section below.


 Protein Product Survey
    •   In the Protein Product Test Group, 38.5% of respondents (77 out of 200)
        answered that the Purely Inspired protein powder product is made by the same
        company as the product they were shown in the first section of the survey – i.e.
        Plaintiff’s Orgain product.
    •   In the corresponding Control Group, 21.5% (43 out of 200) answered that the
        control product is made by the same company as the Orgain product.
    •   Subtracting the 21.5% Control Result yields a net confusion rate in the Protein
        Product survey of 17.0%. The affiliation/sponsorship/approval question added
        no additional net confusion.


  Protein Powder Survey – Net Confusion
  Test Group Confusion Rate                                            38.5%
  Control Group Noise Rate                                             21.5%
  Net Confusion                                                        17.0%


 Protein Shake Survey
    •   In the Protein Shake Test Group, 45.0% of respondents (90 out of 200) answered
        that the Purely Inspired product is made by the same company as the product
        they were shown in the first section of the survey – i.e. Plaintiff’s Orgain product.
    •   In the corresponding Control Group, 18.5% (37 out of 200) answered that the
        control product is made by the same company as the Orgain product.




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    •   Subtracting the 18.5% Control Result yields a net confusion rate in the Protein
        Shake survey of 26.5%. The affiliation/sponsorship/approval question added no
        additional net confusion.


  Protein Shake Survey – Net Confusion
  Test Group Confusion Rate                                           45.0%
  Control Group Noise Rate                                            18.5%
  Net Confusion                                                       26.5%



 Based on these results it is my opinion that the Purely Inspired protein powder and
 protein shake trade dresses create a likelihood confusion with respect to Orgain.




 See Detailed Findings section below for additional information on results. The full data
 will be provided in its original electronic form in Appendix D.




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 METHODOLOGY

 THE RELEVANT UNIVERSE OF INTEREST


 The universe for both surveys consisted of U.S. consumers age 18 and older who have
 personally purchased plant-based protein products in the past six months or are likely
 to do so in the next six months. Additionally:
    •   The Protein Powder survey universe was limited to consumers who have
        personally purchased plant-based protein powder in the past six months or are
        likely to do so in the next six months
    •   The Protein Shake survey universe was limited to consumers who have
        personally purchased ready-to-drink plant-based protein shakes in the past six
        months or are likely to do so in the next six months.


 The following screening questions were employed to ensure the final survey sample
 was comprised of respondents from the appropriate sample universe.


 First, after initial demographic questions, all potential respondents were asked:


        Which of the following, if any, have you personally purchased in the past 6
        months?
        (Select all that apply)


 The following table displays the list of randomized options from which respondents
 could select as many as applied to them, and the proportion of final respondents in each
 survey who selected each:




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                                                     Protein Powder         Protein Shake
  Purchased Past 6 Months
                                                         Survey                Survey
  Total                                                  N=400                  N=400
                                                          89.3%                 66.3%
  Protein powder
                                                            357                   265
                                                          45.3%                 88.8%
  Protein shake (ready-to-drink)
                                                            181                   355
                                                          72.0%                 82.3%
  Protein bars
                                                            288                   329
                                                          78.5%                 82.3%
  Multi-vitamins
                                                            314                   329
                                                          30.3%                 38.0%
  Iron supplements
                                                            121                   152
                                                          57.8%                 58.3%
  Probiotic supplements
                                                            231                   233
                                                          32.3%                 38.3%
  Sport drink powder
                                                            129                   153
                                                          47.8%                 64.0%
  Sport drink (ready-to-drink)
                                                            191                   256
                                                           0.8%                  0.5%
  None of these
                                                             3                     2




 Next, all respondents were asked:


          Which of the following, if any, are you likely to personally purchase in the next 6
          months?
          (Select all that apply)


 The following table displays the options from which respondents could select as many
 as applied to them, and the proportion of final respondents in each survey who selected
 each:




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                                                   Protein Powder        Protein Shake
  Likely to Purchase in Next 6 Months
                                                       Survey               Survey
  Total                                                N=400                 N=400
                                                        90.8%                67.8%
  Protein powder
                                                          363                  271
                                                        46.0%                91.0%
  Protein shake (ready-to-drink)
                                                          184                  364
                                                        75.0%                83.8%
  Protein bars
                                                          300                  335
                                                        78.3%                83.8%
  Multi-vitamins
                                                          313                  335
                                                        33.8%                40.0%
  Iron supplements
                                                          135                  160
                                                        63.5%                64.8%
  Probiotic supplements
                                                          254                  259
                                                        37.0%                40.8%
  Sport drink powder
                                                          148                  163
                                                        49.0%                63.0%
  Sport drink (ready-to-drink)
                                                          196                  252
                                                         1.5%                 0.5%
  None of these
                                                           6                    2


 Respondents who previously answered that they have purchased either “protein
 powder” or “protein shake (ready-to-drink)” were then asked:


          Which of the following type(s) of protein products (protein powders or shakes)
          have you personally purchased in the past 6 months?
          (Select all that apply)


 The following table displays the randomized list of options from which respondents
 could select as many as applied to them, and the proportion of final respondents in each
 survey who selected each:




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  Types of Protein Products Purchased in          Protein Powder        Protein Shake
  Past 6 Months                                       Survey               Survey
  Total                                               N=400                 N=400
                                                       87.5%                88.5%
  Plant-based protein products
                                                         350                  354
                                                       51.0%                59.8%
  Whey protein products
                                                         204                  239
                                                       27.0%                32.3%
  Other dairy-based protein products
                                                         108                  129
                                                        0.0%                 0.3%
  None of these
                                                           0                    1
                                                        0.8%                 0.0%
  Don't know/not sure
                                                           3                    0
  Not asked/Did not purchase protein                    7.5%                 5.3%
  powder or shakes in past 6 months                       30                   21




 Next, respondents who previously answered that they are likely to personally purchase
 either “protein powder” or “protein shake (ready-to-drink)” were then asked:


         Which of the following type(s) of protein products (protein powders or shakes)
         are you likely to personally purchase in the next 6 months?
         (Select all that apply)


 The following table displays the options from which respondents could select as many
 as applied to them, and the proportion of final respondents in each survey who selected
 each:




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  Types of Protein Products Likely to             Protein Powder         Protein Shake
  Purchase in Next 6 Months                           Survey                Survey
  Total                                               N=400                  N=400
                                                       90.8%                 93.5%
  Plant-based protein products
                                                         363                   374
                                                       51.5%                 57.8%
  Whey protein products
                                                         206                   231
                                                       31.5%                 34.3%
  Other dairy-based protein products
                                                         126                   137
                                                        0.3%                  0.0%
  None of these
                                                           1                     0
                                                        0.5%                  0.0%
  Don't know/not sure
                                                           2                     0
  Not asked/Not likely to purchase protein              5.0%                  4.8%
  powder or shakes in next 6 months                       20                    19


 Respondents who answered that they have purchased or are likely to purchase “protein
 powder” and that they have either purchased or are likely to purchase “plant-based
 protein products” were considered part of the relevant sample universe for the Protein
 Powder survey and qualified to participate.


 Respondents who answered that they have purchased or are likely to purchase “protein
 shake (ready-to-drink)” and that they have either purchased or are likely to purchase
 “plant-based protein products” were considered part of the relevant sample universe
 for the Protein Shake survey and qualified to participate.


 Respondents who qualified for both surveys were randomly assigned by the survey
 program to participate in one of the two surveys.


 Prior to continuing to the main surveys, all respondents were asked an additional
 question for classification purposed:


       For which of the following purposes, if any, do you use plant-based protein
       products?

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          (Select all that apply)


 The following table displays the randomized options from which respondents could
 select as many as applied to them, and the proportion of final respondents in each
 survey who selected each:


  Purposes for Plant-Based Protein Products       Protein Powder          Protein Shake
                                                      Survey                 Survey
  Total                                               N=400                   N=400
                                                       39.5%                  47.0%
  Muscle-building/weight gain
                                                         158                    188
                                                       74.0%                  77.0%
  Added nutrition for smoothies/meals
                                                         296                    308
                                                       53.0%                  59.3%
  Post-exercise replenishment
                                                         212                    237
                                                       59.5%                  56.8%
  Use in vegetarian/vegan diet
                                                         238                    227
                                                       43.0%                  45.3%
  Weight loss
                                                         172                    181
                                                        0.3%                   0.5%
  None of these
                                                          1                      2
                                                        0.3%                   0.3%
  Don't know/not sure
                                                          1                      1




 Upon completion of the main survey, all respondents were asked a final question for
 classification purposes:


          Do you or does anyone in your household work for any of the following?
          (Select all that apply)


 The following table displays the list of randomized options from which respondents
 could select as many as applied to them, and the proportion of final respondents in each
 survey who selected each:



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                                                   Protein Powder          Protein Shake
  Related Field
                                                       Survey                 Survey
  Total                                                N=400                   N=400
  An advertising or market research                      2.3%                   1.3%
  company                                                   9                     5
  A company that makes or distributes                    1.5%                   2.3%
  protein products                                          6                     9
  A store or website that sells protein                  2.5%                   1.8%
  products                                                 10                     7
                                                        95.5%                  96.5%
  None of these
                                                          382                    386


 Excluding the negligible number of respondents who work in one of these fields would
 not impact the results of this study or my conclusions.


 The actual wording of the screening questions used is shown in Appendix B.


 SAMPLING PLAN
 The sampling plan involved a random selection of consumers who are part of an online
 panel.


 Online surveys are well-accepted in the field of survey research as a standard, reliable
 methodology. Indeed, online surveys are now the most common method of conducting
 market research among consumers. Businesses and other organizations routinely make
 decisions of importance based on the results of online survey research among
 consumers, and online surveys have been accepted in evidence in numerous U.S.
 District Court cases. I have personally designed and executed numerous internet
 surveys that have been accepted by courts.


 The sample of panelists used in the survey was provided by Dynata, a leading supplier
 of online sample for surveys. I have worked with Dynata on many surveys and have
 found its procedures and panels to be highly reliable. Dynata has large and diverse


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 panels consisting of millions of Americans and is highly regarded as a reputable source
 of respondents for online surveys within the field of market research. Dynata utilizes
 appropriate industry procedures for ensuring the integrity and quality of its panels.
 Through the following techniques, Dynata employs specific process behavior, pattern
 analysis, statistics and algorithms to ensure top quality data:
       •   Digital Fingerprinting technology to ensure high quality participants. This
           includes checking for duplicate participants by evaluating variables, such as
           email address, matches across several demographic data, and device-related
           data.
       •   Double-Opt-In engaged panelists
       •   Third Party technologies to create non-bias decisions
       •   Country-specific and relevant incentive model
       •   Post-collection disqualifications including straightlining 10 with Product Manager
           consultation, verbatims, and speeders


 Additionally, Dynata profiles its panelists and keeps up-to-date on standard
 demographics, such as age, gender, region, household demographic, interests and
 hobbies.


 A sampling plan was carefully structured in order to represent the demographics of
 relevant customers for each survey – i.e. consumers of plant-based protein powders or
 shakes. Throughout the data collection, I continued to monitor the actual rate of
 qualification within each individual age and gender group for each survey. I then
 calibrated these individual incidence rates against U.S. Census data by age and gender
 and set revised age and gender quotas for the final sample size of 200 per Test and
 Control Group in each survey. The following table displays the final proportion of
 sample achieved in each Survey by age and gender per Group:

 10
      “Straightlining” in online surveys is defined as behavior exhibited by respondents when they
 repeatedly select the same response in a question series or grid.

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  Final Number of Respondents by Age and Gender
                                          Protein Powder          Protein Shake
  N=200 per Group per Survey
                                              Survey                  Survey
                                               15.0%                  17.0%
  Male 18 – 34
                                                 30                     34
                                               15.5%                  17.5%
  Male 35 – 54
                                                 31                     35
                                                7.5%                   5.5%
  Male 55 and older
                                                 15                     11
                                               21.5%                  20.5%
  Female 18 – 34
                                                 43                     41
                                               25.0%                  26.0%
  Female 35 – 54
                                                 50                     52
                                               15.5%                  13.5%
  Female 55 and older
                                                 31                     27



 This methodology for producing a representative sample of the relevant category (here,
 consumers of the relevant plant-based protein products) is standard and well-accepted.


 Survey invitations were sent across the U.S. in geographic proportion to Census data.
 The following table displays the final proportion of sample achieved by region:


  Final Number of Respondents by Region

  N=800                                          N                       %

  Northeast                                     153                   19.1%
  South                                         278                   34.8%
  West                                          236                   29.5%
  Midwest                                       133                   16.6%




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 INTERVIEWING PROCEDURES
 The online survey was programmed and hosted by Focus Vision, a company
 specializing in web survey programming and data collection and processing. My staff
 and I thoroughly tested the programmed survey prior to any potential respondents
 receiving the invitation to participate in the survey.


 DATA PROCESSING
 Data was collected by Focus Vision and made available to Hal Poret, LLC through an
 electronic portal on an ongoing basis. The data set showing respondents’ answers to all
 questions will be provided in electronic form.


 DOUBLE-BLIND INTERVIEWING
 The study was administered under “double-blind” conditions. That is, not only were
 the respondents kept uninformed as to the purpose and sponsorship of the study, but
 the services involved in providing the sample and administering the online interviews
 (Dynata) were similarly “blind” with respect to the study’s purpose and sponsorship.


 INTERVIEWING PERIOD
 Interviewing was conducted from August 28, 2019 through September 30, 2019.


 QUALITY CONTROL
 Several measures were implemented to ensure a high level of quality control and
 validation with respect to respondents taking the survey.


 Upon initially entering the survey, all respondents were required to pass a test to verify
 that each respondent is a live person. The test employed in this survey is a CAPTCHA 11




 11
   CAPTCHA is an acronym for “Completely Automated Public Turing test to tell computers
 and Humans Apart.”

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 program that generates a task that humans can pass but current computer programs
 cannot. CAPTCHA is a well-known and widely-used tool in online survey research.


 Upon successfully passing the CAPTCHA test, respondents were then asked to enter
 their year of birth and then their gender. This information was checked against the
 sample provider’s (Dynata’s) demographics on record for each respondent and any
 respondent providing an incorrect or inconsistent birth year and/or gender was unable
 to continue to the main survey.


 Additionally, respondents were then asked to select their age range. Respondents who
 selected an age range inconsistent with their year of birth were unable to continue with
 the survey.


 These combined steps ensured that the survey was being taken by an actual live person
 and that each person was paying a certain level of attention to the survey questions and
 taking a certain level of care in entering responses.


 All respondents were also asked to select any web browsers or search engines they have
 used in the past three months. Respondents could select as many as applied to them
 from a list of ten options, including, “other,” “not sure” and one fictional name:
 Hagelin. Respondents who selected “Hagelin” were unable to continue. Additionally,
 respondents who answered that they have used all seven of the actual web browsers
 and search engines included on the response list, were identified as “yea-sayers” and
 unable to continue with the survey. 12




  “Yea-sayers” in surveys are typically defined as respondents who answer affirmatively to
 12

 questions, regardless of their belief.

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 The following question was also asked and permitted additional screening out of
 respondents who were paying insufficient attention or clicking responses
 indiscriminately:



        For quality assurance, please type the word "survey" in the blank next to the
        "Other" box below and then click to continue.
              • Strongly agree
              • Agree
              • Neutral
              • Disagree
              • Strongly disagree
              • Other ________



 Respondents who selected “other” and typed a response in the blank continued with
 the survey. A review was conducted of all open-ended answers, including responses to
 this question and respondents who failed to follow instructions for this question, or
 gave other non-responsive or nonsense answers to open-ended questions were removed
 from the final data.


 Respondents were then also asked to carefully read these instructions:
 *      Please take the survey in one session without interruption.

 *      Please maximize your browser and keep it maximized for the survey.

 *      While taking the survey, please do not consult any other websites or other
        electronic or written materials.

 *      Please answer all questions on your own without consulting any other person.

 *      If you normally wear eye glasses or contact lenses when viewing a computer
        screen, please wear them for the survey.


 Two options were provided in response to these instructions: 1) I understand and agree
 to the above instructions, and 2) I do not understand or do not agree to the above

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 instructions. Only respondents who understood and agreed to the instructions then
 continued to the main section of the survey.




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  DETAILED FINDINGS


I.          Protein Powder Survey



  Source Confusion – Same Company


  In the Test Group 38.5% (77 out of 200) answered that Defendant’s product is made or
  put out by the same company as the Orgain product they saw in the first section of the
     survey. In the corresponding Control Group, 21.5% of respondents (43 out of 200)
     answered that the control protein powder product is made or put out by the same
     company as the Orgain product:


     Protein Powder Survey -- Q360: Do you think that this product is      Test Control
     made by…                                                             Group Group
     Base                                                                 N=200     N=200
     The same company as the product you were shown in the first           38.5%     21.5%
     section of the survey                                                   77        43
     A different company than the product you were shown in the first      50.5%     65.5%
     section of the survey                                                  101       131
                                                                           11.0%     13.0%
     No opinion/don't know
                                                                             22        26


  This results in a 17.0% net rate of source confusion, as illustrated in the following table:


      Protein Powder Survey – Net Rate of Confusion
      Test Group Confusion Rate                                          38.5%
      Control Group Noise Rate                                           21.5%
      Net Rate of Confusion                                              17.0%




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 Affiliation, Sponsorship or Approval

 The follow-up question regarding affiliation or sponsorship/approval did not produce
 any additional net confusion, as the Test Group rate did not exceed the Control Group
 rate:


                                                                         Test       Control
 Protein Powder Survey -- Q370: Do you think this product...
                                                                        Group       Group
 Base                                                                   N=200       N=200
 is affiliated with, or sponsored or approved by, the company that       6.5%       10.0%
 makes the product you were shown in the first section of the survey      13          20
 is not affiliated with, or sponsored or approved by, the company        33.5%      49.5%
 that                                                                      67         99
                                                                         21.5%      19.0%
 No opinion/don't know
                                                                           43         38
 Not asked/previously answered products are from the same                38.5%      21.5%
 company                                                                   77         43




 Because the Test Group result in the affiliation question does not exceed the Control
 result, this question adds nothing to the net confusion level.


 Third-Party Products


 The following table displays the confusion rate in the Test Group for the Purely
 Inspired product compared to the results for the two third-party products included in
 the survey:




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      Protein Powder Survey
                                                                 Purely    Garden of
      Test Group Confusion Result V. Third-Party Products                                   KOS
                                                                Inspired     Life
      Q360 & Q370

      Base                                                       N=200       N=400         N=400

      The same company as the product you were shown in          38.5%        9.3%          5.3%
      the first section of the survey                              77          37            21
      A different company than the product you were shown        50.5%        85.3%        85.8%
      in the first section of the survey                          101          341          343
                                                                 11.0%        5.5%          9.0%
      No opinion/don't know
                                                                   22          22            36


   The lower rates of answering that the Garden of Life (9.3%) and KOS (5.3%) products
  are made by the same company as the Orgain product further validates that the
   dramatically higher 38.5% result for the Purely Inspired product is not the result of
   guessing or other forms of respondent or survey error, but is attributable specifically to
   the similarity of the Purely Inspired trade dress to the Orgain trade dress.


II.          Protein Shake Survey



   Source Confusion – Same Company


   In the Test Group, 45.0% (90 out of 200) answered that the Purely Inspired product is
  made or put out by the same company as the Orgain product they saw in the first
  section of the survey. In the corresponding Control Group, 18.5% of respondents (37
   out of 200) answered that the control protein drink product is made or put out by the
   same company as the Orgain product:




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 Protein Shake Survey -- Q360: Do you think that this product is        Test Control
 made by…                                                              Group Group
 Base                                                                  N=200    N=200
 The same company as the product you were shown in the first           45.0%    18.5%
 section of the survey                                                   90       37
 A different company than the product you were shown in the first      47.0%    71.5%
 section of the survey                                                   94      143
                                                                       8.0%     10.0%
 No opinion/don't know
                                                                        16        20


 This results in a 26.5% net rate of confusion:


  Protein Shake Survey – Net Confusion
  Test Group Confusion Rate                                         45.0%
  Control Group Noise Rate                                          18.5%
  Net Rate of Confusion                                             26.5%



 Affiliation, Sponsorship or Approval

 The follow-up question regarding affiliation or sponsorship/approval did not produce
 any additional net confusion, as the Test Group rate did not exceed the Control Group
 rate:

                                                                         Test    Control
 Protein Shake Survey -- Q370: Do you think this product...
                                                                        Group    Group
 Base                                                                   N=200    N=200
 is affiliated with, or sponsored or approved by, the company that       7.5%     13.5%
 makes the product you were shown in the first section of the survey      15        27
 is not affiliated with, or sponsored or approved by, the company       36.0%     52.5%
 that                                                                     72       105
                                                                        11.5%     15.5%
 No opinion/don't know
                                                                          23        31
 Not asked/previously answered products are from the same               45.0%     18.5%
 company                                                                  90        37


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 Because the Test Group result in the affiliation question does not exceed the Control
 result, this question adds nothing to the net confusion level.


 Third-Party Products


 The following table displays the confusion rate in the Test Group for the Purely
 Inspired product compared to the results for the two third-party products included in
 the survey:


 Protein Shake Survey
                                                               Purely      Owyn          Aloha
 Test Group Confusion Result V. Third-Party Products
                                                              Inspired
 Q360 & Q370

 Base                                                             N=200    N=400         N=400

 The same company as the product you were shown in                45.0%     17.0%         8.3%
 the first section of the survey                                    90        68           33
 A different company than the product you were shown              47.0%     73.3%        80.0%
 in the first section of the survey                                 94       293          320
                                                                  8.0%      9.8%         11.8%
 No opinion/don't know
                                                                   16        39            47


 The lower rates of answering that the Owyn (17.0%) and Aloha (8.3%) products are
 made by the same company as the Orgain product further validates that the
 dramatically higher 45.0% result for the Purely Inspired product is not the result of
 guessing or other forms of respondent or survey error, but is attributable specifically to
 the similarity of the Purely Inspired trade dress to the Orgain trade dress.


 CONCLUSIONS


 Based on the survey results, it is my opinion that the Purely Inspired protein powder
 and protein shake trade dresses create a likelihood confusion with respect to Orgain.



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